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H. Dean Steward, SBN 85317
107 Avenida Miramar, Ste. C
San Clemente, CA 92672

Tel (949) 481-4900

Fax (949) 497-6753

Attorney for Defendant
MICHAEL JOHN AVENATTI

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, SA CR No. 19-061-JVS
Plaintiff, DEFENDANT’S SUBMISSION IN
ADVANCE OF JANUARY 6, 2021
Vv. STATUS CONFERENCE
MICHAEL JOHN AVENATTI,
Defendant.

 

 

 

 

In advance of the Status Conference scheduled for January 6, 2021, Defendant
MICHAEL JOHN AVENATTI (“Mr. Avenatti”), through his counsel, files this

submission regarding the trial date and additional issues.

Dated: January 5, 2021 Respectfully submitted,

/s/ H. Dean Steward
H. DEAN STEWARD

Attorney for Defendant
MICHAEL JOHN AVENATTI

 
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I. THE TRIAL DATE
A. The Current Trial Date
At an October 27, 2020 status conference, the Court set the trial in this case on the

 

first ten counts for February 23, 2021. As a result of the pandemic, and the need for
Orange County to move into the orange tier before the minimum 49-day time period to
summon a jury begins, it is now clear that the current February trial date is no longer
realistic and should be rescheduled.

B. The Trial Date In the Stormy Daniels Case

As the Court is aware, the government has also charged Mr. Avenatti in the
Southern District of New York with allegedly taking proceeds from a book deal he
negotiated on behalf of Ms. Stormy Daniels (Case No. 19CR374 (SDNY) (the “Daniels
Case”). The government has brought these federal charges in a separate case despite the
fact that the net monies allegedly “embezzled” from the $800,000 book deal per the
indictment are less than $150,000 (far less than the threshold typically used for federal
cases) and Mr. Avenatti’s written retention agreement with Ms. Daniels specifically
provides that Mr. Avenatti is entitled to proceeds from the book deal. See Exhibit A
(Paragraph 4 — “In addition, in the event Attorney assists Clients in finalizing any book
or media opportunity that result in Clients being paid, Attorney and Client agree that
Attorney shall be entitled to a reasonable percentage to be agreed upon between Clients
and Attorney.”).

The defense has requested repeatedly that the government consent to transfer and
consolidate the Daniels Case with this case so that a waste of resources, judicial and
otherwise, can be avoided, especially in light of the pandemic and the backlog of trials.
The government has refused and insists on trying Mr. Avenatti in a separate case in New
York. The defense continues to maintain that this makes no sense and only operates to

further complicate matters, while wasting valuable resources.

 
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The trial in the Daniels Case was previously set to occur in the Spring of 2020,
before the trial in this case. Following the October 27, 2020 status conference in this
case, a status conference was held in the Daniels Case two weeks later on November 10,
2020. During that conference, the Honorable Jesse M. Furman noted that the Daniels
Case trial “is not going to be a particularly easy one given the public and press interest in
it, even the need for a larger jury pool and other aspects that make it more complicated
than your average trial.” [Transcript, 10:2-6.] The government subsequently provided a
two-week trial estimate. The court then set the trial for April 26, 2021, with Judge
Furman stating: “COVID aside, everybody should understand and view that as a firm
trial date...” [Transcript, 15:22-23.]. Accordingly, the Daniels Case is proceeding to
trial in late April unless it is rescheduled for a reason relating to the pandemic.

C. The Impact of the Daniels Trial on the Trial In This Matter

Beginning no later than April 5, 2021, Mr. Avenatti will be busy preparing for the
Daniels Case trial and working closely with his New York defense counsel. These
efforts are anticipated to be more complicated and onerous as a result of his current
release conditions, which restrict Mr. Avenatti’s access to technology.

The Daniels trial will likely conclude no earlier than May 10. This is especially
true due to the extensive voir dire that will be required beginning on April 26. By way
of reference, the voir dire in the Nike-related case took approximately three days. It is
anticipated that the voir dire in the Daniels Case will take longer as a result of its high-
profile nature and the involvement of Ms. Daniels.

Further, as recognized by Judge Furman, the Daniels Case will generate a

significant amount of publicity and national media attention. See, e.g., “Coming in

 

' On January 4, 2021, the court in the Daniels Case issued the standard SDNY Order
relating to the scheduling of criminal trials given the pandemic [Docket No. 101] and
noted that “it is unclear whether jury trials will be feasible in the second quarter of 2021
given the inherent uncertainty of the public heath situation.” Baring rescheduling as a
result of the pandemic or some unforeseen circumstance, Mr. Avenatti is planning on
proceeding to trial as scheduled and will not seek an adjournment.

 
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2021: High-Profile Cases Set to Play Out In Manhattan Federal Court,” Law.com,
December 29, 2020 (referencing the Daniels Case). This promises to dwarf the amount
of media attention generated by the Nike trial, which received widespread press coverage
across the country. The details in that case were reported on NBC, CBS, ABC, CNN
and Fox News, blasted across social media, and printed in countless newspapers and web
articles. Indeed, Mr. Avenatti’s conviction in that case was featured on a number of
prime-time news shows on the evening it occurred.

The defense objects to the trial in this case occurring during the weeks
immediately following the Daniels Case. Conducting the trial in this matter on the heels
of the Daniels Case and its inevitable publicity would interfere with Mr. Avenatti’s due
process rights and his rights under the Sixth Amendment to the United States
Constitution, regardless of the outcome in that case. This is even more true in the event

Mr. Avenatti is convicted. The Supreme Court’s holding in the seminal case of

Sheppard v. Maxwell, 384 U.S. 333 (1966) is instructive:

Due process requires that the accused receive a trial by an impartial jury
free from outside influences. Given the pervasiveness of modern
communications and the difficulty of effacing prejudicial publicity from the
minds of the jurors, the trial courts must take strong measures to ensure that
the balance is never weighed against the accused. And appellate tribunals
have the duty to make an independent evaluation of the circumstances. Of
course, there is nothing that proscribes the press from reporting events that
transpire in the courtroom. But where there is a reasonable likelihood that
prejudicial news prior to trial will prevent a fair trial, the judge should
continue the case until the threat abates, or transfer it to another county
not so permeated with publicity. . .. But we must remember that reversals
are but palliatives; the cure lies in those remedial measures that will prevent
the prejudice at its inception. The courts must take such steps by rule and
regulation that will protect their processes from prejudicial outside
interferences.

Id. at 362-63 (emphasis added). See also Levine v. United States Dist. Court for Cent.
Dist., 764 F.2d 590, 596 (9th Cir. 1985) (“We have recognized that the Sheppard Court

 
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unequivocally imposed a duty upon trial courts to take affirmative steps to insure the
fairness of a criminal proceeding in the face of excessive publicity. Farr, 522 F.2d at
468; see also Hirschkop, 594 F.2d at 366 n. 8 (noting that the language in Sheppard “is
more nearly directive than suggestive” ”). As a result, the trial in this case should be
scheduled for at least ninety (90) days (at a minimum) following the end of the trial in
the Daniels Case to allow the threat of publicity to abate.

It bears repeating that it is the government that has chosen to (i) indict Mr.
Avenatti in a separate federal case in New York involving the alleged embezzlement of
$150,000; (ii) refuse to consolidate the charges from that case with this case or try the
cases together in order to avoid complications and conserve resources; and, (iii) refuse
the defendant’s offer made last October, before the Daniels Case was set for trial, to set
the trial in this case for May 2021, and instead insist that this case proceed in January or
February. Accordingly, the government should not be heard to complain now regarding
any delay occasioned by the Daniels Case.

D. Other Scheduling Conflicts and Factors Bearing on the New Trial Date

Undersigned counsel has another case set for a two-week trial beginning on June
1, 2021 before the Honorable David Carter (United States v. Poon, Case No. 19-CR-
00162). That case was set for trial on that date on November 25, 2020 (Docket No. 49).
Preparation for that trial will occupy the majority of counsel’s time during the month of
May.

Further, counsel will also need approximately one month of solid preparation with
Mr. Avenatti immediately prior to the trial in this case. This preparation will have to
occur after May 10, 2021 seeing as Mr. Avenatti will be focused on the Daniels Case
from the beginning of April through at least May 10, 2021, and after trial in the Poon
matter referenced above.

In addition, it is unclear at this time when trials are likely to recommence in the

Central District and how the backlog of trials will be addressed. In the defense’s view, it

 
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is not in the parties’ or the court’s best interest to set an overly optimistic trial date only
to then have to continue the date yet again due to the effects of the pandemic.

Finally, the defense submits that even though this case is high profile, it need not
be one of the first cases to proceed to trial following the resumption of jury trials in the
Central District for a number of reasons, including (1) this is not a violent crime related
case - it is a white collar case alleging financial and tax related offenses with no
allegations of violent crime, use of a firearm or large scale drug trafficking; (2) each of
the alleged individual victim clients identified in the indictment has already filed a civil
lawsuit or arbitration action against Mr. Avenatti and is pursuing civil remedies against
Mr. Avenatti; and (3) like the Daniels Case, the trial in this case “is not going to be a
particularly easy one given the public and press interest in it, even the need for a larger
jury pool and other aspects that make it more complicated than your average trial.” See,
e.g., “After pandemic-related delays, high-profile Orange County court cases looming in
2021,” Orange County Register, December 30, 2020 (referencing this case). The
challenges are even more significant coming on the heels of the pandemic and the need
for adequate safety precautions for a large jury pool and media.

For each of the above reasons, the defense requests that the trial in this case be set
no earlier than August 24, 2021. This will help ensure that the threat of publicity from
the Daniels Case abates and that counsel and Mr. Avenatti have adequate time to prepare
immediately before trial.

Il. THE DEFENSE MOTION(S) REGARDING THE REVIEW OF
PRIVILEGED DOCUMENTS

On September 14, 2020, Defendant filed a Motion seeking an Order directing (1)
that a proper and through review of various search warrant materials be conducted by a
magistrate judge, or a special master, with ultimate privilege determinations made by a
magistrate judge, in accordance with legal requirements and the Constitution; (2) all

search warrant materials and documents previously produced by the Filter Team be

 
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disgorged by the prosecution team (which including the investigating agents); (3) that no
further review of the search warrant materials and documents occur by the Filter Team
and the prosecution until the magistrate’s review was completed; (4) that an evidentiary
hearing be conducted so as to permit the defense to make adequate inquiry as to certain
issues surrounding the various privileged materials; and (5) that the defense be permitted
to conduct discovery as to certain issues in the Motion [Docket No. 286.]

On November 6, 2020, the defense withdrew the motion without prejudice after
the disclosure of additional information relating to the pervasive receipt, mishandling
and review of attorney-client privileged materials and documents by the prosecution
team. This information included the disclosure by the privilege review team on
November 4, 2020 that (a) 307 additional privileged documents belonging to Mr.
Avenatti are being clawed back from the prosecution team and (b) the prosecution team
received thousands of other privileged documents (which the defense believes were also
reviewed by the prosecution team). The defense also discovered that the prosecution
team reviewed other privileged documents, in some instances repeatedly, during the
prosecution of the defendant.

Since November 4, 2020, the defense has been actively attempting to get answers
from the privilege review team and the prosecution team as to what documents were
produced to the prosecution team and when, and which documents were reviewed by the
prosecution team, by whom and when. This information/data is easily accessible from
the document database and its “audit” function with a few clicks of a mouse; the defense
requires this information so that they can determine what relief, if any, to seek. But
despite repeated requests on this critical issue, little information has been forthcoming.

Just yesterday, the privilege review team finally responded to requests made
weeks ago by the defense in November and December and provided limited information
regarding some of the privileged documents — numbering 4,350 documents. The defense

is reviewing the information provided and will be filing a motion addressing this issue

 
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and the failures of the government to adequately provide information regarding the
prosecution team’s receipt and review of privileged documents.
Il. THE ISSUES RAISED IN THE GOVERNMENT’S DECEMBER 13, 2020
STATUS REPORT (DOCKET NO. 387)
On December 13, 2020, the government filed a Status Report with the Court
addressing a number of issues. Defendant briefly responds as follows.

A. Reciprocal Discovery

 

The defense has produced reciprocal discovery to the government, which includes
documents signed by one of the alleged victim clients undercutting the allegations in the
indictment. The defense first discovered on December 17, 2020 that as a result of a
technical error, an October 22, 2020 email to the government attaching this information
was not received by the government. This error was promptly corrected.

The defense is continuing to review the vast amount of documents and
information relating to this case and will make further productions as additional
documents are discovered. Seeing as the trial date is being continued, the government
cannot point to any prejudice that results from the conduct of the defense. This is
especially true seeing as the government has yet to inform the defense that it has
completed its own discovery obligations and has produced all required documents and
information to the defense.

B. Bankruptcy-Related Rule 404(B) Evidence

The defense objects to the inclusion of the multitude of alleged bankruptcy-related
acts, crimes, and wrongs at a severed trial on Counts 1-10 as proposed in the
government’s submission at Docket No. 361. Permitting this evidence to be placed
before the jury would be highly and unduly prejudicial to Mr. Avenatti and would
effectively render the Court’s Order severing the first ten counts from the bankruptcy
counts meaningless. The defense respectfully requests an opportunity to file a written

submission with the Court responding to the government’s request.

 
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C. California Ethics Jury Instructions

Following the Court’s October 30, 2020 Order relating to the propriety of expert
testimony on legal ethics [Docket No. 371], on November 2, 2020, the Court requested
additional briefing on the issue [Docket No. 373]. Defendant submitted his
supplemental brief on November 9, 2020 [Docket No. 380]. Therein, defendant
explained why the California Rules of Professional Conduct and the California Business
and Professions Code are irrelevant to this case and unduly prejudicial. [/d. at 2, 5]. The
Court has yet to rule on the motion.

After the Court issues its ruling on the pending motion and addresses the
relevance of the California Rules of Professional Conduct and the California Business
and Professions Code, if necessary, defendant will address any jury instructions
proposed by the government relating to those standards (together with the other jury
instructions). There is no reason why such instructions cannot be addressed at the
general charge conference.

D. Special Needs Trust Expert Testimony

 

The defense is not willing to stipulate to the “factual” stipulation regarding special
needs trusts proposed by the government for a multitude of reasons, including because it
is not accurate, is overly broad, and seeks to place a host of irrelevant issues before the
jury. When and if the government seeks leave to designate an alternate expert, the

defendant will respond in writing.

Dated: January 5, 2021 Respectfully submitted,

/s/ H. Dean Steward
H. DEAN STEWARD

Attorney for Defendant
MICHAEL JOHN AVENATTI

 
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EXHIBIT A
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EAGAN AVENATTI, LLP
520 Newport Center Drive, Suite 1400
Newport Beach, CA 92660
(949) 706-7000

February 27, 2018

ATTORNEY-CLIENT FEE CONTRACT

This ATTORNEY-CLIENT FEE CONTRACT (this “Agreement”) is the written fee contract that California
law requires lawyers to have with their Client. It is between Eagan Avenatti, LLP; Avenatti & Associates,
APC and Michael J. Avenatti, Esq. (collectively, the “Attorney”) on the one hand and Stephanie Clifford aka
Stormy Daniels (collectively, the “Clients” and each a “Client”), on the other.

1, CONDITIONS. This Agreement will not take effect, and Attorney will have no obligation to provide
legal services, until Clients return a signed copy of this Agreement.

2. SCOPE OF SERVICES. Clients are hiring Attorney to represent Clients in connection with (a)
providing Clients with counsel and advice relating to Clients prior negotiation and execution of various alleged
agreements concerning Clients’ prior relationship with Donald Trump; (b) providing Clients with counsel and
advice concerning various media appearances; and (c) assisting Clients with voiding various alleged
agreements concerning Clients’ prior relationship with Donald Trump. Attormey will provide those legal
services reasonably required to represent Clients and take reasonable steps to inform Clients of progress and to
timely respond to Clients’ inquiries. In addition, Attorney may at any time and at its discretion retain outside
and/or local counsel, whose legal fees will be deducted from the fees received by Attorney and will be the sole
and exclusive responsibility of Attorney.

3. CLIENT’S DUTIES. Clients agree to be truthful with Attorney, to cooperate, to keep Attomey
informed of developments, to abide by this Agreement, and to pay bills for reasonably incurred costs on time.

4. LEGAL FEES, COSTS AND BILLING PRACTICES. For legal services rendered, Attorney will
receive (a) an one-time payment of $100.00 and (b) Attorneys’ standard hourly fees and out-of-pocket costs ifa

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addition, in the event Attorney assists Clients in finalizing any book or media opportunity that results in Clients |

| being paid, Attorney and Client agree that Attorney shall be entitled to a reasonable percentage to be agreed |
| upon between Clients and Attorney.

5. NEGOTIABILITY OF FEES. The rates set forth above are not set by law, but were negotiated

between Attorney and Clients.

6. INSURANCE COVERAGE. Aitorney maintains errors and omissions insurance coverage applicable
to the services to be rendered to Clients and will provide a certificate of insurance evidencing such coverage
upon request.

7. ARBITRATION. Any dispute arising under this Contract or in connection with Attorney’s services
hereunder, including any claim by Clients against Attorney for malpractice or other tort claim, shall be
resolved by binding arbitration before JAMS located in Los Angeles, California. Such arbitration shall
be conducted in accordance with the arbitration rules and procedures of JAMS then in effect. Clients

acknowledges that they have been fully advised of all of the possible consequences of arbitration
including but not limited to:

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Case: 2:19-cv-00119-MHW-EPD Doc #: 49-1 Filed: 11/14/19 Page: 2 of 2 PAGEID #: 290
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a. Ifa malpractice action arises from this Agreement, neither the Clients nor Attorney will have the
right to a jury trial,

b. All parties retain the right to retain counsel to prepare their respective claims and/or defenses for
the arbitration hearing.

¢. Clients can choose or hire an attorney who may not request or whose retainer agreement does not
contain an arbitration provision.

8. RELATED UNKNOWN MATTERS, Clients represent that Clients do not know of any related legal
matters that would require legal services to be provided under this Agreement. If such a matter arises later,
Clients agree that this Agreement does not apply to any such related legal matters, and a separate Agreement

for provision of services and payment for those services will be required if Clients desire Attorney to perform
that additional legal work.

9. DISCHARGE AND WITHDRAWAL. Clients may discharge Attorney at any time, upon written
notice to Attorney, and Attorney will immediately after receiving such notice cease to render additional
services in a manner that avoids foreseeable prejudice to Clients.

Attorney may withdraw from representation of Clients (a) with Clients’ consent, or (b) upon court approval, or
(c) if no court action has been filed, upon reasonable notice to Clients.

10. CONCLUSION OF SERVICES. After Attormey’s services conclude, Attorney will, upon Clients’
request, deliver Clients’ entire file to Clients, along with any Client funds or property in Attorney’s possession.

11. DISCLAIMER OF GUARANTEE. Nothing in this Agreement and nothing in Attorney’s
statements to Clients befere or after the signing of this Agreement will be construed as a promise or
guarantee about the outcome of Clients’ matter. Attorney makes no such promises or guarantees.
There can be no assurance that Clients will recover any sum or sums in this matter. Attorney comments
about the likely outcome of Clients’ claims are expressions of opinion only.

12. EFFECTIVE DATE. This Agreement will take effect when Clients have performed the conditions
stated in Paragraph 1. The date at the beginning of this Agreement is for reference only.

“Attorney”

EAGAN AVENATTI, LLP; AVENATTI & ASSOCIATES, APC; MICHAEL J. AVENATTI

 
 
 

 

1 J. Avenatti

I have read and understood the foregoing terms and agree to them. By signing this Agreement, | further
acknowledge receipt of a fully executed duplicate of this Agreement.

“Clients”

 

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CERTIFICATE OF SERVICE

I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
age. My business address is 107 Avenida Miramar, Ste. C, San Clemente, CA 92672. I
am not a party to the above-entitled action. I have caused, on January 5, 2021, service of

the:

DEFENDANT’S SUBMISSION IN ADVANCE OF JANUARY 6, 2021
STATUS CONFERENCE

on the following party, using the Court’s ECF system:
AUSA BRETT SAGEL AND AUSA JULIAN ANDRE
I declare under penalty of perjury that the foregoing is true and correct.
Executed on January 5, 2021
/s/ H. Dean Steward
H. Dean Steward

 

 
